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                                  Attachment 2

                 Item 7: Statement Identifying Foreign Proceedings
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Adam J. Goldberg                                           Daniel Scott Schecter (pro hac vice pending)
Brett M. Neve (pro hac vice pending)                       Nima H. Mohebbi (pro hac vice pending)
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Counsel to the Foreign Representatives

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


    In re:                                                    Chapter 15

    Three Arrows Capital, Ltd, 1                              Case No. 22-__________ ( )

              Debtor in a Foreign Proceeding.


                      DECLARATION OF FOREIGN REPRESENTATIVES
                  PURSUANT TO SECTION 1515(c) OF THE BANKRUPTCY CODE

             I/We, Russell Crumpler and Christopher Farmer, pursuant to 28 U.S.C. § 1746, hereby

declare under penalty of perjury under the laws of the United States of America, as follows:

             1.     I/We are the duly authorized foreign representatives of Three Arrows Capital, Ltd

(the “Debtor”). The Debtor is the subject of insolvency proceedings (the “BVI Proceeding”)

currently pending in the British Virgin Islands (“BVI”) before the Eastern Caribbean Supreme




1
    The last four digits of the Debtor’s British Virgin Islands company registration number are 0531. The location of
    the Debtor’s registered office is ABM Chambers, P.O. Box 2283, Road Town, Tortola, VG1110, British Virgin
    Islands.


                                                          2
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Court in the High Court of Justice Virgin Islands (Commercial Division) (the “BVI Court”) and

captioned as In re Three Arrows Capital Limited, Case No. BVIHCOM2022/0119 (June 27, 2022).

       2.      I/We respectfully submit this statement, as required by section 1515(c) of title 11

of the United States Code (the “Bankruptcy Code”), in support of the verified petition filed

herewith seeking recognition by this Court of the BVI Proceeding as a foreign main proceeding.

       3.      Pursuant to the requirements of section 1515(c) of the Bankruptcy Code, to the best

of my knowledge, the BVI Proceeding is the only known pending “foreign proceeding” with

respect to the Debtor as that term is defined in section 101(23) of the Bankruptcy Code.


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       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct to the best of my knowledge, information, and belief.

Dated: July 1, 2022                              /s/ Russell Crumpler
                                                 Russell Crumpler




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       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct to the best of my knowledge, information, and belief.

Dated: July 1, 2022                              /s/ Christopher Farmer
                                                 Christopher Farmer




                                                5
